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IN THE UNITED STATES DISTRICT COURT °';|'{‘§\DNTM
FoR THE SOUTHERN DISTRICT 0F TEXAS '
HOUSTGN DIVISION FEB 2 0 2013
UNITED STATES 0F AMERICA W¢WH»MM
vS. CRIMINAL No. H-12-272-SS

TERRY ROSS BLAKE,

a/k/a “Big Terry,”

LARRY MAX BRYAN,

a/k/a “Slick,”

JAMES LAWRENCE BURNS,
a/k/a “Chance,”

REBECCA JOHNSON CROPP,

RUSTY EUGENE DUKE,

a/k/a “Duke”

KELLY RAY ELLEY,

a/k/a “Magic,”

DESTINY NICGLE FEATHERS,
CHAD RAY FOLMSBEE,

a/k/a “Polar Bear,”

SAMANTHA DEANN GOLDMAN,
KENNETH MICHAEL HANCOCK,
a/k/a “Hancock,”

DUSTIN LEE HARRIS,

a/k/a “Lightning,”

BENJAMIN TROY JOHNSON,
a/k/a “South,”

CLAY JARRAD KIRKLAND,

a/k/a “Diesel,”

MICHAEL RICHARD LAMPHERE,
a/k/a “Lamp,”

JAMIE GRANT LOVEALL,

a/k/a “Dutch,”

WILLIAM DAVID MAYNARD,
a/k/a “Baby Huey,”

SHANE GAIL MCNIEL,

a/k/a “Dirty,”

GLEN RAY MILLICAN JR,
a/k/a “Fly,”

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COUNT 1: 18 U.S.C. § 1962(d): Conspiracy
t0 Participate in a Racketeering Enterprise;

COUNT 2: 21 U.S.C. § 846: Conspiracy
to Possess With Intent to Distribute
Methamphetamine and Cocaine;

COUNT 3: 18 U.S.C. § 1959 (a)(l):
Murder of Aaron Wade Gtto;

COUNTS 4, 6 &10:18 U.S.C.§ 924@)(1)

Using and Carrying a Firearm to Commit

Murder During and in Relation to a Crirne
of Violence;

COUNT 5: 18 U.S.C. § 1959 (a)(1):
Murder of Robert Alan Branch

COUNT 7: 18 U.S.C. § 1959 (a)(l):
Kidnapping of Mark Davis Byrd, Sr.

COUNT 8: 18 U.S.C. § 1959 (a)(5):
Conspiracy to Murder Mark Davis Byrd, Sr.;

COUNT 9: 18 U.S.C. § 1959 (a)(l):
Murder of Mark Davis Byrd, Sr.;

COUNT11: 18 U.S.C. § 1959 (a)(l) & 3:
Accessory After the Fact in the Murder of
Mark Davis Byrd, Sr.;

COUNT 123 18 U.S.C. § 1959 (a)(l):
Kidnapping of Albert Duane Parker;

COUNT13: 18 U.S.C. § 1959 (a)(3):
Assault Of Albert Duane Parker;

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CHRISTOPHER JAMES MORRIS,
a/k/a “Rockstar,”

STEPHEN TOBIN MULLEN,

a/k/a “Scuba Steve,”

JUSTIN CHRISTOPHER NORTHRUP,

a/k/a “Ruthless,”

RONALD LEE PRINCE,

a/k/a “Big Show,”

CHARLES LEE ROBERTS,
a/k/a “Jive,”

DAVID ORLANDO ROBERTS,
a/k/a “Chopper,”

BILLY DON SEAY,

a/k/a “Big Nasty,”

JAMES ERIK SHARRON,

a/k/a “Flounder,”

SAMMY KEITH SHIPMAN,
a/k/a “Stubby,”

BRIAN LEE THOMAS,

a/k/a “Bam Bam,”

FREDRICK MICHAL VILLARREAL,
a/k/a “Big Mike,”

TAMMY MELISSA WALL,
BILLY FRANK WEATHERRED,
a/k/a “Billy The Kid,”

STEVEN WORTHEY,

a/k/a “Worthey,” and

JAMES FRANCIS SAMPSELL,
a/k/a “Skitz,”

Defendants,

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COUNT 14: 18 U.S.C.§ 1959(a)(3):
Assault of Tomrny Dale Slaughter;

COUNT15:18 U.S.C. § 1959 (a)(l):
Kidnapping of Joseph Wright;

COUNT16:18 U.S.C. § 1959 (a)(l):
Kidnapping of Ray Deason;

COUNT17:18 U.S.C. § 1959(a)(5):
Attempted Murder of Jason Head;

COUNT18: 18 U.S.C. § 841: Possession With
Intent to Distribute Methamphetamine; and

18 U.S.C. Aiding and Abetting.

SECOND SUPERSEDING INDICTMENT

 

QMFNT_ONE

(Conspiracv to Participate in Racketeering Activity)

THE UNITED STATES GRAND JURY CHARGES:

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1. At various times relevant to this Second Superseding Indictment, the defendants and
others known and unknown, were members of the Aryan Brotherhood of Texas (hereinafter the
“ABT”), a criminal organization whose members and associates engaged in narcotics distribution,
gambling, and acts of violence involving murder, assault, and arson, and which operated throughout
Oklahoma and Texas, including the Southern District of Texas, and elsewhere

Structure and Oneration of the Enterprise

2. The structure of the ABT included, but was not limited to, the following:

a. The ABT was a violent “whites only” prison-based gang with thousands of
members operating inside and outside of state and federal penal institutions throughout Texas and
the United States.

b. The traditional power centers of the ABT, and members of the gang’s
leadership structure, were predominately located in prisons operated by the Texas Department of
Criminal Justice (hereinafter the “TDCJ”) and metropolitan areas throughout Texas. The ABT was
established in the early 1980's within TDCJ. The ABT modeled itself after and adopted many of the
precepts and writings of the Aryan Brotherhood, a California-based prison gang that was formed in
the Califomia prison system during the 1960’s. The ABT offered protection to “white” inmates if
they joined the gang.

c. The ABT had a detailed and uniform organizational structure, which is
outlined - along with various rules, procedures, and code of conduct - in a written “Constitution”
widely distributed to members throughout Texas and elsewhere.

d. In Texas, there were two competing ABT factions. Each faction followed

the leadership of their respective faction. Each faction had similar chain of command structures and

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had a defined militaristic rank structure ABT members referred to the gang as the “Family.” The
hierarchy of each faction was divided into separate TDCJ regions. Each region included a
“General,” two “Majors,” several “Captains,” “Lieutenants,” “Sergeants-at-Arms,” and numerous
“Soldiers.” The General was the highest authority within the Region. Subordinate ranking members
served to support the General, and enforce gang members’ discipline and adherence to established
ABT rules and by-laws. The ABT’s ranking structure remained constant; however, personnel
changes (promotions, demotions, terminations) occurred frequently.

e. The five ABT Generals comprised a steering committee that was referred to
as the “Wheel,” which controlled all criminal aspects of the gang. Each Wheel member was
responsible for appointing his subordinate, ranking members (Maj ors) within his respective region.
This included appointment of an inside Maj or (in-custody member) and an outside Maj or (referring
to a member in the “free world”). These Majors, in turn, were responsible for appointing their
subordinate Captains and Lieutenants, who, in turn, appointed their Sergeants. Wheel members
typically remained in place regardless of their custody status, unlike other ranking members, who
typically lost rank when their custody status changed.

f. ABT leaders had the authority within the gang to issue “D.O.’s” (direct
orders) and mete out punishment A “D.O.” was an assignment given to a subordinate ABT member
that would serve a purpose for the ABT. The “D.O.” could range from a leader ordering a “S.O.S”
(smash on sight), meaning the assault of a rival gang member or of an ABT member who had
committed a violation of the ABT rules, to a “green light,” or “X,” meaning the murder of a rival
gang member or of an ABT member who had committed an egregious violation of the gang’s rules.

Failure to perform a “D.O.” resulted in the assigned member being in violation of the rules.

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Punishment for failing to complete the “D.O.” could range anywhere from a beating to death.

g. Members of the ABT greeted each other, and showed their membership in the
gang, using a hand-sign intended to represent the letters “A” and “B.” The ABT employed a robust
symbolgy as well, using depictions of Nazi-era inspired symbols and artwork to demonstrate their
affiliation. Members often had tattoos incorporating one or more Nazi-era symbols including but
not limited to the Nazi flag, Swastika, Iron Eagle and Schutzstaffel (“SS”) lighting bolts. The most
coveted tattoo of ABT membership was the ABT patch, which could be worn only by fully made
members who generally ascended to full membership by committing a “blood-tie” (aggravated
assault or murder) on behalf of the gang. The design and shape of the patch would vary, but usually
consisted of a shield encompassing a sword, swastika, and crown - with the letters “A” and “B” and
lightning bolts of the Nazi “SS” over the top of the shield - and “Texas” under the bottom of the
shield. Phrases unique to the ABT lexicon included “GFBD,” “14-88,” “12,” “23,” “23/16,” “28,”
and “100%.” The gang also incorporated these phrases into tattoos, which they used to show their
membership in the gang. The colors associated with the ABT were black and red, and members of
the ABT often demonstrated their affiliation with the ABT by wearing clothing containing the colors
black and red or incorporating some of the gang’s other symbols or phrases.

h. Once released from incarceration, ABT members were required to remain
loyal to the ABT and were required to immediately report to outside leaders to further the goals of
the ABT through criminal activity. One of the goals of the ABT was to recruit new members. ABT
members were recruited from both inside and outside state and federal penal institutions. In order
to be considered for ABT membership, a person had to be sponsored by another ABT member.

Once sponsored, a prospective member had to serve an unspecified term of usually not less than one

 

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year, during which he was referred to as a prospect, and his conduct was observed by other gang
members. During this period, the prospect was required to study and learn the ABT Constitution and
the “Prospect Schooling Guide.” The prospect was also required to sign a “Blind Faith
Commitment,” whereby he pledged an unconditional commitment to follow all orders issued by
ABT superiors. While a prospect, the individual was considered part of the ABT family and entitled
to the full protection of the gang. The prospect was also subjected to the rules and orders of the
gang. lf the prospect’s conduct during the probationary period was deemed satisfactory, he was
admitted by a majority vote of all ABT members present. All ABT members were required to attend
monthly “church” meetings where criminal activity was discussed, financial proceeds from criminal
activity were collected including, but not limited to, collection of drug proceeds from subordinate
gang members for senior ABT gang leaders, and beatings of fellow ABT gang members were
administered
i. In addition to members, the enterprise included those closely affiliated with
the ABT, who were called “associates.” While females were not allowed to become members of the
ABT, those who associated with the ABT and engaged in criminal activity for the benefit of the ABT
were often referred to as “featherwoods.” Associates who did not fulfill their obligations to the ABT
were sometimes subject to violence, including murder. Female associates functioned as
communication hubs, facilitating gang communication among imprisoned members throughout the
penal system through the use of the telephone, Intemet and United States mail.
The Racketeering Enterprise
3. The ABT, including its leaders, members, and associates, constituted an “enterprise,”

as defined in Title 18, United States Code, Section 1961(4) (hereinafter “the enterprise”), that is, a

 

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group of individuals associated in fact. The enterprise constituted an ongoing organization whose
members and associates, including its prospects, functioned as a continuing unit for a common
purpose of achieving the objectives of the enterprise This enterprise was engaged in, and its
activities affected, interstate and foreign commerce
The Defendants
4. At various times relevant to this Second Superseding Indictment, the following

individuals, among others, were members or associates of the ABT in the various capacities set forth
below:

a. TERRY ROSS BLAKE, a/k/a “Big Terry,” LARRY MAX BRYAN, a/k/a
“Slick,” WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,” CHARLES LEE ROBERTS,
a/k/a “Jive,” and JAMES FRANCIS SAMPSELL, a/k/a “Skitz,”each held a leadership rank of
“General” or “Acting General” of the ABT enterprise, and directed other members and associates of
the enterprise in carrying out unlawful and other activities in furtherance of the conduct of the
enterprise’s affairs. As leaders, TERRY ROSS BLAKE, a/k/a “Big Terry,” LARRY MAX
BRYAN, a/k/a “Slick,” WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,” CHARLES LEE
ROBERTS, a/k/a “Jive,” and JAMES FRANCIS SAMPSELL, a/k/a “Skitz,”were responsible
for, among other things, supervising the criminal activities of the members and associates of the ABT
enterprise; issuing orders to kill rival gang members and subordinate gang members whom they
believed had violated ABT rules of conduct; and presiding over ABT “church” meetings where
criminal activity was discussed, proceeds from criminal activity were collected including, but not
limited to, collection of drug proceeds from subordinate gang members, and beatings of fellow ABT

gang members were administered In addition, apart from supervising and directing the criminal

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activities of the members and associates of the ABT enterprise, TERRY ROSS BLAKE, a/k/a “Big
Terry,” LARRY MAX BRYAN, a/k/a “Slick,” WILLIAM DAVID MAYNARD, a/k/a “Baby
Huey,” CHARLES LEE ROBERTS, a/k/a “Jive,” and JAMES FRANCIS SAMPSELL, a/k/a
“Skitz,” also participated directly in the criminal activities of the ABT enterprise Among their
criminal activities were murder, attempted murder, kidnapping, assault, narcotics distribution,
weapons trafficking, arson, and counterfeiting
b. JAMES LAWRENCE BURNS, a/k/a “Chance,” Ben Christian Dillon,

a/k/a “Tuff,” RUSTY EUGENE DUKE, a/k/a “Duke,” KELLY RAY ELLEY, a/k/a “Magic,”
CHAD RAY FOLMSBEE, a/k/a “Polar Bear,” KENNETH MICHAEL HANCOCK, a/k/a
“Hancock,” BENJAMIN TROY JOHNSON, a/k/a “South,” MICHAEL RICHARD
LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a “Dutch,” GLEN RAY
MILLICAN, JR., a/k/a “Fly,” JAMES ERIK SHARRON, a/k/a “Flounder,” FREDRICK
MICHAL VILLARREAL, a/k/a “Big Mike,” and STEVEN WORTHEY, a/k/a “Worthey,” each
held a leadership rank of “Maj or,” “Captain,” “Lieutenant,” and/or “Treasurer” of the ABT enterprise,
and directed subordinate members and associates of the enterprise in carrying out unlawful and other
activities in furtherance of the conduct of the enterprise’s affairs. As high ranking ABT gang
members, JAMES LAWRENCE BURNS, a/k/a “Chance,” RUSTY EUGENE DUKE, a/k/a
“Duke,” KELLY RAY ELLEY, a/k/a “Magic,” CHAD RAY FOLMSBEE, a/k/a “Polar Bear,”
KENNETH MICHAEL HANCOCK, a/k/a “Hancock,” BENJAMIN TROY JOHNSON, a/k/a
“South,” MICHAEL RICHARD LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL,
a/k/a “Dutch,” GLEN RAY MILLICAN, JR., a/k/a “Fly,” JAMES ERIK SHARRON, a/k/a

“Flounder,” FREDRICK MICHAL VILLARREAL, a/k/a “Big Mike,” and STEVEN

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WORTHEY, a/k/a “Worthey,” were responsible for, among other things, supervising the criminal
activities of subordinate members and associates of the ABT enterprise; issuing orders to kill rival
gang members and subordinate gang members whom they believed had violated ABT rules of
conduct; and presiding over ABT “church” meetings where criminal activity was discussed, financial
proceeds from criminal activity were collected including, but not limited to, collection of drug
proceeds from subordinate gang members for senior ABT gang leaders, and beatings of fellow ABT
gang members were administered In addition, apart from supervising and directing the criminal
activities of the members and associates of the ABT enterprise, JAMES LAWRENCE BURNS,
a/k/a “Chance,” RUSTY EUGENE DUKE, a/k/a “Duke,” KELLY RAY ELLEY, a/k/a
“Magic,” CHAD RAY FOLMSBEE, a/k/a “Polar Bear,” KENNETH MICHAEL HANCOCK,
a/k/a “Hancock,” BENJAMIN TROY JOHNSON, a/k/a “South,” MICHAEL RICHARD
LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a “Dutch,” GLEN RAY
MILLICAN, JR., a/k/a “Fly,” JAMES ERIK SHARRON, a/k/a “Flounder,” FREDRICK
MICHAL VILLARREAL, a/k/a “Big Mike,” and STEVEN WORTHEY, a/k/a “Worthey,” also
participated directly in the criminal activities of the ABT enterprise Among their criminal activities
were murder, attempted murder, kidnapping, assault, narcotics distribution, weapons trafficking,
arson, and counterfeiting
c. SHANE GAIL MCNIEL, a/k/a “Dirty,” CHRISTOPHER JAMES

MORRIS, a/k/a Rockstar,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” JUSTIN
CHRISTOPHER NORTHRUP, a/k/a “Ruthless,” DAVID ORLANDO ROBERTS, a/k/a
“Chopper,” and BILLY FRANK WEATHERRED, a/k/a “Billy the Kid,” each held a rank of

“Sergeant” and/or “Enforcer” in the ABT enterprise, and were responsible for, among other things,

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carrying out murders, attempted murders, assaults, and physical “disciplines” at the direction of senior
ABT gang leaders. In addition, SHANE GAIL MCNIEL, a/k/a “Dirty,” CHRISTOPHER
JAMES MORRIS, a/k/a Rockstar,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,”
JUSTIN CHRISTOPHER NORTHRUP, a/k/a “Ruthless,” DAVID ORLANDO ROBERTS,
a/k/a “Chopper,” and BILLY FRANK WEATHERRED, a/k/a “Billy the Kid,” also participated
directly in other criminal activities of the ABT enterprise including, but not limited to, kidnapping,
narcotics distribution, weapons trafficking, arson, gambling and counterfeiting
d. REBECCA JOHNSON CROPP, DESTINY NICOLE FEATHERS,
SAMANTHA DEANN GOLDMAN, and TAMMY MELISSA WALL each held a position of
ABT “Hub” and were often referred to as “Featherwoods.” In such capacity they, among other things,
facilitated communication of criminal activities in furtherance of the conduct of the enterprise’s
affairs among imprisoned ABT gang members throughout the federal and Texas state penal systems,
through the use of telephone, internet, and United States mail. Such transmissions often included
messages ordering the commission of murders and assaults of ABT gang members and rival gang
members.
e. DUSTIN LEE HARRIS, a/k/a “Lightning,” CLAY JARRAD

KIRKLAND, a/k/a “Diesel,” RONALD LEE PRINCE, a/k/a “Big Show,” BILLY DON SEAY,
a/k/a “Big Nasty,” SAMMY KEITH SHIPMAN, a/k/a “Stubby,” and BRIAN LEE THOMAS,
a/k/a “Bam Bam,” held the rank of ABT “Soldier.” In such capacity they, among other things,
carried out criminal activities at the direction of senior ABT leaders and for the benefit of the ABT
enterprise Among their criminal activities were murder, attempted murder, kidnapping, assault,

narcotics distribution, weapons trafficking, arson, and counterfeiting

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Purpose of the Enterprise

5. The purposes of the enterprise included, but were not limited to, the following:

a. Enriching the leaders, members, and associates of the enterprise through,
among other things, gambling and the illegal trafficking of controlled substances and firearms.

b. Preserving and protecting the power, territory, operations, and proceeds of the
enterprise through the use of threats, intimidation, violence, and destruction, including, but not limited
to, acts of murder, attempted murder, assault with a dangerous weapon, and other acts of violence

c. Promoting and enhancing the enterprise and its members’ and associates’
activities

d Keeping victims in fear of the enterprise and in fear of its leaders, members,
and associates through threats of violence and actual violence The leaders, members, and associates
of the enterprise undertook all steps necessary to prevent the detection of their criminal activities and
sought to prevent and resolve the imposition of any criminal liabilities upon their leaders, members,
and associates, by the use of murder, violence, and intimidation directed against witnesses, victims,
and others.

e. Providing support to gang members who were charged with, or incarcerated
for, gang-related activities.

Manner and Means of the Consr)ira_cy
6. The defendants agreed to facilitate a scheme that included the operation and
management of the enterprise by a conspirator. Members and associates of the enterprise operated
and conducted their affairs through a series of rules and policies, some of which were codified in a

constitution and by-laws.

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a. The members and associates of the enterprise attended regular meetings,
referred to as “church,” where criminal activity was discussed, financial proceeds from criminal
activity were collected including, but not limited to, collection of drug proceeds from subordinate
gang members for senior ABT gang leaders, and beatings of fellow ABT gang members were
administered

b. To enforce discipline and the rules of the enterprise, members and associates
of the enterprise and their associates engaged in a system of “violations,” in which the defendants and
others attempted to murder, conspired to murder, physically assaulted, and threatened those members
and associates of the enterprise who violated rules, questioned authority, or posed a threat to the
leaders, members, or purposes of the enterprise

c. Members and associates of the enterprise employed and used gang-related
terminology, symbols, gestures, and color schemes.

d. To perpetuate the enterprise and to maintain and extend their power, members
and associates of the enterprise committed and conspired to commit acts including murder,
intimidation, and assault against individuals who posed a threat to the enterprise or jeopardized its
operations, including rival gang members, ABT gang members of a rival ABT faction, and witnesses
to illegal activities of the enterprise

e. Members and associates of the enterprise managed the procurement, transfer,
use, concealment, and disposal of firearms and dangerous weapons within the enterprise to protect
gang-related criminal activities, personnel, and operations and to deter, eliminate, and retaliate against
competitors and other rival criminal organizations and persons.

f. Members and associates of the enterprise regularly financed their activities

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through funds obtained in the illegal trafficking of controlled substances, including, but not limited
to, the distribution and possession with the intent to distribute cocaine and methamphetamine

g. Members and associates of the enterprise committed acts of arson to exert
control over illegal gambling markets.

h. Members and associates of the enterprise hid, misrepresented concealed
and caused to be misrepresented concealed, and hidden, the objectives of acts done in furtherance
of the conspiracy, and used coded language and other means to avoid detection and apprehension by
law enforcement authorities

The Racketeering Conspiracv

 

7. Beginning on a date unknown to the Grand Jury, but at least as of in or about

1993, and continuing through on or about the date of this Second Superseding lndictment, in the
Southern District of Texas and elsewhere, the defendants, TERRY ROSS BLAKE, a/k/a “Big
Terry,” LARRY MAX BRYAN, a/k/a “Slick,” JAMES LAWRENCE BURNS, a/k/a “Chance,”

REBECCA JOHNSON CROPP, RUSTY EUGENE DUKE, a/k/a “Duke,” KELLY RAY
ELLEY, a/k/a “Magic,” DESTINY NICOLE FEATHERS, CHAD RAY FOLMSBEE, a/k/a
“Polar Bear,” SAMANTHA DEANN GOLDMAN, KENNETH MICHAEL HANCOCK, a/k/a
“Hancock,” DUSTIN LEE HARRIS, a/k/a “Lightning,” BENJAMIN TROY JOHNSON, a/k/a
“South,” CLAY JARRAD KIRKLAND, a/k/a Diesel,” MICHAEL RICHARD LAMPHERE,
a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a, “Dutch,” WILLIAM DAVID MAYNARD,
a/k/a “Baby Huey” SHANE GAIL MCNIEL, a/k/a, “Dirty,” GLEN RAY MILLICAN JR.,
a/k/a “Fly,” CHRISTOPHER JAMES MORRIS, a/k/a “Rockstar,” STEPHEN TOBY

MULLEN JR., a/k/a “Scuba Steve,” JUSTIN CHRISTOPHER NORTHRUP, a/k/a “Ruthless,”

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RONALD LEE PRINCE, a/k/a “Big Show,” CHARLES LEE ROBERTS, a/k/a “Jive,” DAVID
ORLANDO ROBERTS, a/k/a “Chopper,” BILLY DON SEAY, a/k/a “Big Nasty,” SAMMY
KEITH SHIPMAN, a/k/a “Stubby,” BRIAN LEE THOMAS, a/k/a “Bam Bam,” FREDRICK
MICHAL VILLARREAL, a/k/a “ Big Mike,” TAMMY MELISSA WALL, BILLY FRANK
WEATHERRED, a/k/a “Billy the Kid,” STEVEN WORTHEY, a/k/a “Worthey,” and JAMES
FRANCIS SAMPSELL, a/k/a “Skitz,” being persons employed by and associated with the ABT,
an enterprise engaged in, and the activities of which affected, interstate and foreign commerce and
others known and unknown to the Grand Jury, did knowingly and intentionally conspire to conduct
and participate directly and indirectly, in the conduct of the affairs of the enterprise through a pattern
of racketeering activity, as defined in Sections 1961 (1) and (5) of Title 18, United States Code,
consisting of multiple acts involving murder in violation of Texas Penal Code, Sections 19.02,
multiple acts involving arson in violation of Texas Penal Code, Sections 28.02, multiple acts
involving kidnaping in violation of Texas Penal Code, Sections 20.03, and 20.04, multiple acts of
robbery in violation of Texas Penal Code, Sections 29.02, and multiple acts of narcotics trafficking
in violation of 21 United States Code Section 84l(a)(l) (distribution and possession with the intent
to distribute a controlled substance) Section 843 (use of communication facility) and Section 846
(conspiracy to distribute and possession with the intent to distribute a controlled substance). It was
part of this conspiracy that the defendants agreed that a conspirator would commit at least two acts

of racketeering in the conduct of the affairs of the enterprise

Overt Acts

8. ln furtherance of the conspiracy and to achieve the objective thereof, the defendants

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performed or caused to be performed the following overt acts, among others, in the Southem District
of Texas, the Northem District of Texas, the Western District of Texas, and elsewhere:

a. ln or about 1993, WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,”
earned his “blood-tie” to the ABT by stabbing two individuals believed to be rival gang members.

b. ln or about 2000, WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,” and
others known and unknown to the Grand Jury, issued a “green light” (order to kill) against individuals
whom the ABT enterprise believed were members of the rival ABT faction,

c. Beginning on an exact date unknown to the Grand Jury, but at least as of in
or about 2000, and continuing to the date of this Superseding Indictment, TERRY ROSS BLAKE
a/k/a Big Terry, LARRY MAX BRYAN, a/k/a “Slick,” JAMES LAWRENCE BURNS, a/k/a
“Chance,” REBECCA JOHNSON CROPP, Ben Christopher Dillon, a/k/a “Tuff,” RUSTY
EUGENE DUKE, a/k/a “Duke,” KELLY RAY ELLEY, a/k/a “Magic,” DESTINY NICOLE
FEATHERS, CHAD RAY FOLMSBEE, a/k/a “Polar Bear,” KENNETH MICHAEL
HANCOCK, a/k/a “Hancock,” DUSTIN LEE HARRIS, a/k/a “Lightning,” BENJAMIN TROY
JOHNSON, a/k/a “South,” CLAY JARRAD KIRKLAND, a/k/a “Diesel,” MICHAEL
RICHARD LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a “Dutch,”
WILLIAM DAVID MAYNARD, a/k/a, “Baby Huey,” James Marshall Meldrum, a/k/a “Dirty,”
GLEN RAY MILLICAN JR., a/k/a “Fly,” CHRISTOPHER JAMES MORRIS, a/k/a
“Rockstar,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” JUSTIN CHRISTOPHER
NORTHRUP, a/k/a “Ruthless,” RONALD LEE PRINCE, a/k/a “Big Show,” CHARLES LEE
ROBERTS, a/k/a “Jive,” DAVID ORLANDO ROBERTS, a/k/a “Chopper,” BILLY DON

SEAY, a/k/a “Big Nasty,” SAMMY KEITH SHIPMAN, a/k/a “Stubby,” BRIAN LEE

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THOMAS, a/k/a “Bam Bam,” FREDRICK MICHAL VILLARREAL, a/k/a “Big Mike,”
TAMMY MELISSA WALL, BILLY FRANK WEATHERRED, a/k/a “Billy the Kid,” STEVEN
WORTHEY, a/k/a “Worthey,” JAMES FRANCIS SAMPSELL, a/k/a “Skitz,”and others known
and unknown to the Grand Jury, knowingly and intentionally conspired to distribute and possessed
with the intent to distribute 500 grams or more of a mixture or substance containing a detectable
amount of methamphetamine and/or 50 grams or more of methamphetamine (actual), in violation
of Title 21, United States Code, Section 846 and 841.

d ln or about 2001, and continuing through in or about 2002, MICHAEL
RICHARD LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a “Dutch,”
WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,” DAVID ORLANDO ROBERTS, a/k/a
“Chopper,” and others known and unknown to the Grand Jury, knowingly and intentionally
conspired to distribute and possessed with the intent to distribute five kilograms or more of a mixture
and substance containing a detectable amount of cocaine, and 280 grams or more of a mixture and
substance containing a detectable amount of cocaine base, in violation of Title 21 United States Code,
Sections 846 and 841(a) (1) and (b) (1) (A).

e. In or about 2001, WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,”
MICHAEL RICHARD LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL, a/k/a
“Dutch,” and others known and unknown to the Grand Jury, issued a “green light” to kill the ranking
member of the rival ABT faction.

f. F rom in our about 2001 , and continuing through in or about March
2002, WILLIAM DAVID MAYNARD, a/k/a “Baby Huey,” JAMIE GRANT LOVEALL, a/k/a

“Dutch,” JAMES ERIK SHARRON, a/k/a “Flounder,” and others known and unknown to the

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Grand Jury, ordered subordinate gang members to kill a fellow ABT gang member whom the ABT
believed had failed to carry out a “DO” (direct order) to kill the senior leader of the rival ABT
faction,

g. In or about November 2001, MICHAEL RICHARD LAMPHERE, a/k/a
“Lamp,” and others known and unknown to the Grand Jury, issued a “green light” to kill a
subordinate ABT gang member whom the ABT believed had failed to follow the rules of the ABT
enterprise

h. On or about November 25, 2001, JAMIE GRANT LOVEALL, a/k/a
“Dutch,” and DAVID ORLANDO ROBERTS, a/k/a “Chopper,” killed a subordinate ABT gang
member whom the ABT believed had violated ABT gang rules.

i. ln or about November 2001, and continuing until in or about April 2002,
DAVID ORLANDO ROBERTS, a/k/a “Chopper,” earned an ABT “enforcer” patch for killing a
fellow ABT gang member.

j. On or about March 6, 2002, SAMMY KEITH SHIPMAN, a/k/a “Stubby,”
earned his “bones” by killing a fellow ABT gang member whom the ABT targeted for death for
failing to carry out a direct order issued by ABT superiors.

k. From in or about April 2008, and continuing through in or about May 2008,
LARRY MAX BRYAN, a/k/a “Slick,” STEVEN WORTHEY, a/k/a “Worthey,” and TERRY
ROSS BLAKE, a/k/a “Big Terry,” and others known and unknown to the Grand Jury, approved the
killing of an ABT prospect member.

l. From in or about April 2008, and continuing through in or about May 2008,

KELLY RAY ELLEY, a/k/a “Magic,” and others known and unknown to the Grand Jury, ordered

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a subordinate ABT gang member to kill a fellow ABT gang member whom the ABT believed was
cooperating with law enforcement

m. From in or about April 2008, and continuing through in or about May 2008,
KELLY RAY ELLEY, a/k/a “Magic,” and others known and unknown to the Grand Jury, ordered
subordinate ABT gang members to kill an ABT prospect and to make the killing “as messy as
possible” as a message to the ABT enterprise not to cooperate with law enforcement

n. In or about April 2008, and continuing through in or about May 2008,
KELLY RAY ELLEY, a/k/a “Magic,” and others known and unknown to the Grand Jury, ordered
subordinate ABT gang members to kill an ABT prospect and to return the victim’s severed finger as
a trophy.

o. ln or about April 2008, and continuing through in or about May 2008,
KELLY RAY ELLEY, a/k/a “Magic,” discussed with an ABT enforcer his plan to kill a police
officer.

p. In or about April 2008, and continuing through in or about May 2008,
DESTINY NICOLE FEATHERS supplied a shotgun to an ABT enforcer for the killing of an ABT
prospect.

q. On or about May 4, 2008, BRIAN LEE THOMAS, a/k/a “Bam Bam,” and
others known and unknown to the Grand Jury, kidnapped an ABT prospect at gunpoint.

r. On or about May 4, 2008, DESTINY NICOLE FEATHERS, and others
known and unknown to the Grand Jury, destroyed bloody clothing and other items used in connection

with a murder.

s. On or about May 4, 2008, LARRY MAX BRYAN, a/k/a “Slick,”

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congratulated subordinate ABT gang members for successhilly carrying out the killing of an ABT
prospect member.

t. In or about April 2008, and continuing through in or about May 2008,
SHANE GAIL MCNIEL, a/k/a, “Dirty,” hosted several ABT “church” meetings where ABT
criminal activity was discussed, including narcotics trafficking, and where proceeds from illegal
activities were collected for the benefit of senior ABT gang members.

u. On or about October 12, 2008, an unindicted co-conspirator known to the
Grand Jury, killed an individual whom the ABT enterprise believed to be a member of the rival ABT
faction,

v. On or about April 18, 2009, TERRY ROSS BLAKE, a/k/a “Big Terry,”
and LARRY MAX BRYAN, a/k/a “Slick“ discussed the profit potential of trafficking cocaine inside
the Texas penal system.

w. On or about May 7, 2009, BENJAMIN TROY JOHNSON, a/k/a “South,”
and others known and unknown to the Grand Jury, stole gambling machines.

x. ln or about May 7, 2009, BENJAMIN TROY JOHNSON, a/k/a “South,”
and others known and unknown to the Grand Jury, set a trailer on fire to divert law enforcement
attention away from an ABT enterprise burglary.

y. ln or about December 2009, TERRY ROSS BLAKE, a/k/a “Big Terry,”
and others known and unknown to the Grand Jury, ordered subordinate ABT gang members to attack
a fellow ABT gang member whom the ABT believed was claiming a rank superior to the one he
actually eamed.

z. In or about December 2009, Ben Christian Dillon, a/k/a Tuf ,”

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and others known and unknown to the Grand Jury, set a building that housed an environmental
business ablaze

aa. ln or about 2010, JAMES LAWRENCE BURNS, a/k/a “Chance,” and
others known and unknown to the Grand Jury, ordered subordinate gang members to kill a fellow ABT
gang member whom the ABT believed was cooperating with law enforcement

bb. In or about 201(), RONALD LEE PRINCE, a/k/a “Big Show,” assaulted
numerous individuals on orders from senior ABT gang leaders.

cc. In or about March 2010, GLEN RAY MILLICAN JR., a/k/a “Fly,” JUSTIN
CHRISTOPHER NORTHRUP, a/k/a, “Ruthless,” and others known and unknown to the Grand
Jury, beat an individual for failing to pay a drug debt to the ABT enterprise

dd. ln or about July 2010, CHAD RAY FOLMSBEE, a/k/a, “Polar
Bear,” and others known and unknown to the Grand Jury, announced at an ABT enterprise “church”
meeting that he would enforce the ABT “blood-in, blood-out” policy.

ee. On or about July 28, 2010, KENNETH MICHAEL HANCOCK, a/k/a
“Hancock,” BILLY DON SEAY, a/k/a “Big Nasty,” BILLY FRANK WEATHERRED, a/k/a
“Billy the Kid,” and others known and unknown to the Grand Jury, burned an ABT-gang tattoo from
the arm of a fellow gang member because he failed to carry out a direct order.

ff. From in or about September 201 O, and continuing through in or about January
2011, SAMANTHA DEANN GOLDMAN, CHAD RAY FOLMSBEE, a/k/a “Polar Bear,” and
others known and unknown to the Grand Jury, sold stolen firearms and other merchandise

gg. In or about November 2010, JAMES LAWRENCE BURNS, a/k/a

“Chance,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” DUSTIN LEE HARRIS, a/k/a

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“Lightning,” RONALD LEE PRINCE, a/k/a “Big Show,” and others known and unknown to the
Grand Jury, beat and tortured a subordinate ABT gang member for pulling a gun on a fellow gang
member.

hh. ln or about November 2010, CHAD RAY FOLMSBEE, a/k/a, “Polar Bear,”
and others known and unknown to the Grand Jury, issued a “D.O.” (direct order) to subordinate gang
members to kill a fellow ABT gang member whom the ABT believed had stabbed a ranking ABT gang
member.

ii. ln or about November 2010, FREDRICK MICHAL VILLARREAL, a/k/a
“Big Mike,” and others known and unknown to the Grand Jury, transported a subordinate ABT gang
member to and ABT “church” meeting where he was badly beaten for violating ABT rules.

jj. In or about December 2010, GLEN RAY MILLICAN JR., a/k/a “Fly,”and
others known and unknown to the Grand Jury, attempted to kill a fellow ABT gang member and
female companion.

kk. In or about December 2010, JUSTIN CHRISTOPHER NORTHRUP,
a/k/a, “Ruthless,” and others known and unknown to the Grand Jury, severely beat an individual
whom the ABT believed owed a drug debt to the ABT enterprise

ll. Beginning on a date unknown to the Grand Jury, but at least as of 201 1, and
continuing to the date of this Superseding Indictment, REBECCA JOHNSON CROPP,
SAMANTHA DEANN GOLDMAN, TAMMY MELISSA WALL, and others known and unknown
to the Grand Jury, facilitated communication of criminal activity regarding, among other things,

murder and assaults, among ABT gang members, including those who were imprisoned

mm. In or about 201 l, JAMES LAWRENCE BURNS, a/k/a “Chance,” and

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others known and unknown to the Grand Jury, ordered a subordinate gang member to kill a fellow
ABT gang member whom the ABT believed had disrespected the ABT enterprise

nn. In or about January 201 1, JUSTIN CHRISTOPHER NORTHRUP, a/k/a,
“Ruthless,” and others known and unknown to the Grand Jury, traveled to Dallas, Texas to kill a
fellow ABT gang member whom the ABT enterprise believed was cooperating with law enforcement

oo. On or about May 2, 201 l, JAMES LAWRENCE BURNS, a/k/a “Chance,”
STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” CHRISTOPHER JAMES MORRIS,
a/k/a “Rockstar,” CLAY JARRAD KIRKLAND, a/k/a “Diesel, ” and others known and unknown
to the Grand Jury, severely beat a fellow ABT gang member whom the ABT believed had stolen from
the ABT enterprise

pp. In or about June 2011, James Marshall Meldrum, a/k/a “Dirty,” CLAY
JARRAD KIRKLAND, a/k/a “Diesel,” and others known and unknown to the Grand Jury, beat and
forcibly stole cash and property from a female individual whom the ABT believed had disrespected
the ABT enterprise

qq. ln our about July 201 l, RUSTY EUGENE DUKE, a/k/a “Duke,” ordered a
subordinate ABT gang member to kill an individual whom the ABT believed had stolen drugs from
the ABT enterprise

rr. In or about July 2011, RUSTY EUGENE DUKE, a/k/a “Duke,” supplied a
weapon to an ABT subordinate gang member to kill an individual whom the ABT believed had stolen
drugs from the ABT enterprise

ss. On or about September 10, 2011, SAMANTHA DEANN GOLDMAN

facilitated a three-way-call between CHAD RAY FOLMSBEE, a/k/a “Polar Bear,” and CHARLES

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LEE ROBERTS, a/k/a “Jive,” during which FOLMSBEE and ROBERTS discussed and approved
the assault against and elimination of ABT gang members.

tt ln or about October 201 1, and continuing through on or about November 201 1,
REBECCA JOHNSON CROPP, TAMMY MELISSA WALL, and others known and unknown to
the Grand Jury, communicated to imprisoned ABT gang members that a recently imprisoned ABT
gang member had cooperated with law enforcement

uu. Beginning on a date unknown to the Grand Jury, but at least as of in or about
2000, JAMES FRANCIS SAMPSELL, a/k/a “Skitz,” was a “made” and “fully-patched” member
of the ABT enterprise

vv. Beginning on a date unknown to the Grand Jury, but at least as of in or about
2010, JAMES FRANCIS, SAMPSELL, a/k/a “Skitz,” held the rank of “outside” Major for region
three of the ABT enterprise and “inside” Major for region four of the ABT enterprise

ww. Beginning on a date unknown to the Grand Jury, but at least as of in or about
2010, and continuing through the date of this Second Superseding Indictment, JAMES FRANCIS,
SAMPSELL, a/k/a “Skitz,” presided over numerous ABT “church” meetings where criminal activity
was discussed and beatings of fellow ABT gang members were administered

xx. In or about November 2010, JAMES FRANCIS, SAMPSELL, a/k/a
“Skitz,” along with others known and unknown to the Grand Jury, sold stolen pick-up trucks to drug
trafficking organizations in Mexico.

yy. In or about November 2010, and continuing through December 2010, JAMES
FRANCIS, SAMPSELL, a/k/a “Skitz,” sold multiple firearms.

zz. Beginning on a date unknown to the Grand Jury, but at least as of in or about

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January 2012, JAMES FRANCIS, SAMPSELL, a/k/a “Skitz,” was promoted to the senior rank of
“general” over region three of the ABT enterprise and controlled all ABT enterprise criminal activity
in Lubbock, Midland/Odessa, and the Amarillo Panhandle of Texas for the ABT enterprise

aaa. ln or about November 2012, JAMES FRANCIS SAMPSELL, a/k/a
“Skitz,” issued a “D,O.” (direct order) to subordinate gang members to kill a female whom the ABT

believed possessed knowledge of crimes committed by the ABT enterprise

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COUNT TWO

Conspiracv to Possess with Intent to Distribute Methamnhetamine and Cocaine
[21 U.S.C. § 846]

9. Beginning on an exact date unknown to the Grand Jury, but at least as of in or about
June 2001, and continuing through the date of this Second Superseding Indictment, in the Southem
District of Tean and elsewhere the defendants TERRY ROSS BLAKE, a/k/a “Big Terry,”
KELLY RAY ELLEY, a/k/a “Magic,” CHAD RAY FOLMSBEE, a/k/a “Polar Bear,”
BENJAMIN TROY JOHNSON, a/k/a, “South,” MICHAEL RICHARD LAMPHERE, a/k/a
“Lamp,” JAMIE GRANT LOVEALL, a/k/a “Dutch,” WILLIAM DAVID MAYNARD, a/k/a
“Baby Huey,” GLEN RAY MILLICAN JR., a/k/a “Fly,” JUSTIN CHRISTOPHER
NORTHRUP, a/k/a “Ruthless,” CHARLES LEE ROBERTS, a/k/a “Jive,” DAVID ORLANDO
ROBERTS, a/k/a “Chopper,” SAMMY KEITH SHIPMAN, a/k/a “Stubby,” FREDRICK
MICHAL VILLARREAL, a/k/a “Big Mike,” and others known and unknown to the Grand Jury,
would and did distribute and possess with the intent to distribute a controlled substance, to wit, 500
grams or more of a mixture or substance containing a detectable amount of methamphetamine and 50
grams or more of methamphetamine (actual), in violation of 21 U.S.C., §§ 841(a)(1) and 841
(b)( l )(A)(viii); and five kilograms or more of a mixture and substance containing a detectable amount
of cocaine, and 280 grams or more of a mixture and substance containing a detectable amount of
cocaine base, in violation of21 U.S.C., §§ 841(a) (1), (b) (1) (A) and 2.

ln violation of21 U.S.C. § 846 and § 2.

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COUNT THREE

Murder of Aaron Wade Otto
[ 18 U.S.C. §§ 1959 (a) (1) & (2)]

10. At all times relevant to this Second Superseding Indictment, ABT, as more fully
described in Paragraphs One through Six of this Superseding lndictment, which are re-alleged and
incorporated by reference as though fully set forth herein, constituted an enterprise as defined in Title
18, United States Code, Section l959(b)(2), namely ABT, that is, a group of individuals associated in
fact, which was engaged in and the activities of which affected, interstate and foreign commerce The
ABT constituted an ongoing enterprise whose members functioned as a continuing unit for a common
purpose of achieving the objectives of the enterprise

11. At all times relevant to this Second Superseding Indictment, the above-described
enterprise through its members and associates, engaged in racketeering activity as defined in Title 18,
United States Code, Sections l959(b)(l) and 1961(1), namely, acts involving narcotics trafficking in
violation of Title 21, United States Code, Sections 841, 843, and 846, acts involving arson in violation
of Texas Penal Code, Section 28.02, acts involving kidnaping in violation of Texas Penal Code,
Sections 20.03, 20.04, acts involving robbery in violation of Texas Penal Code, Sections 29.02, and acts
involving murder in violation of Texas Penal Code, Section 19.02.

12. On or about November 25, 2001, in the Southem District of Texas and elsewhere
for the purpose of maintaining and increasing position within the ABT, an enterprise engaged in
racketeering activity, the defendants MICHAEL RICHARD LAMPHERE, a/k/a, “Lamp,” JAMIE
GRANT LOVEALL, a/k/a, “Dutch,” DAVID ORLANDO ROBERTS, a/k/a “Chopper,” and
others known and unknown to the Grand Jury, aiding each other, did intentionally and knowingly

murder Aaron Wade Otto, in violation of Texas Penal Code, Sections 19.02 (b) (l) and 7.01.

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A11 in violation er 18 u.s.C. §§ 1959 (a) (1) and 2.

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COUNT FOUR
Using and Carrving a Firearm to Commit Murder During
and in Relation to a Crime of Violence; Aiding and Abetting
[18 U.S.C. §§ 924(j) (1) & 2]

13. On or about November 25, 2001, in the Southem District of Texas and elsewhere the
defendants MICHAEL RICHARD LAMPHERE, a/k/a, “Lamp,” JAMIE GRANT LOVEALL,
a/k/a, “Dutch,” DAVID ORLANDO ROBERTS a/k/a “Chopper,” and others known and unknown
to the Grand Jury, aiding each other, did knowingly use and carry a firearm during and in relation to a
crime of violence for which the defendants may be prosecuted in the United States, as alleged in Count
Eight of this Second Superseding Indictment, to wit: Violent Crimes in Aid of Racketeering, which is
re-alleged and incorporated by reference herein, in violation of Title 18, United States Code, Section
924 (c) (1), and in the course of this violation caused the death of a person through the use of a firearm,
which killing is a murder as defined in Title 18, United States Code, Section 1 1 1 l, in that the
defendants did knowingly kill Aaron Wade Otto, by shooting him with a firearm during the perpetration

of a crime of violence

ln violation of 18 U.S.C. §§ 924 (j) (1) and 2.

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COUNT FIVE
Murder of Robert Alan Branch
[18 U.S.C. §§ 1959 (a) (1) & (2)]

14. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

15. On or about March 6, 2002, in the Southem District of Texas and elsewhere
for the purpose of maintaining and increasing position within the ABT, an enterprise engaged in
racketeering activity, the defendants JAMIE GRANT LOVEALL, a/k/a, “Dutch,” WILLIAM
DAVID MAYNARD, a/k/a, “Baby Huey,” JAMES ERIK SHARRON, a/k/a, “Flounder,”
SAMMY KEITH SHIPMAN, a/k/a, “Stubby,” and others known and unknown to the Grand Jury,
aiding each other, did intentionally and knowingly murder Robert Alan Branch, a/k/a “Lightning,” in
violation of Texas Penal Code, Sections 19.02 (b) (1) and 7.01.

All in violation of 18 U.S.C. §§ 1959 (a) (1) and 2.

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COUNT SIX

Using and Car_rying a Firearm to Commit Murder During

and in Relation to a Crime of Violence; Aiding and Abetting
[18 U.S.C. §§ 924(}) (1) & 2]

16. Gn or about March 6, 2002, in the Southem District of Texas and elsewhere the
defendants JAMIE GRANT LOVEALL, a/k/a, “Dutch,” WILLIAM DAVID MAYNARD, a/k/a,
“Baby Huey,” JAMES ERIK SHARRON, a/k/a, “Flounder,” SAMMY KEITH SHIPMAN, a/k/a,
“Stubby,” and others known and unknown to the Grand Jury, aiding each other, did knowingly use
and carry a firearm during and in relation to a crime of violence for which the defendants may be
prosecuted in the United States, as alleged in Count Ten of this Second Superseding Indictment, to wit:
Violent Crimes in Aid of Racketeering, which is re-alleged and incorporated by reference herein, in
violation of Title 18, United States Code, Section 924 (c) (1), and in the course of this violation caused
the death of a person through the use of a firearm, which killing is a murder as defined in Title 18,
United States Code, Section 1 1 l 1, in that the defendants did knowingly kill Robert Allen Branch, a/k/a
“Lightning,” by shooting him with a firearm during the perpetration of a crime of violence

In violation of 18 U.S.C. §§ 924 (j) (1) and 2.

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COUNT SEVEN
Kidnapping of Mark Davis Byrd, Sr.
[18 U.S.C. §§ 1959 (a) (1) and (2)]

17. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

18. On or about May 4, 2008, in the Westem District of Texas and elsewhere the
defendant BRIAN LEE THOMAS, a/k/a “Bam Bam,” and others known and unknown to the grand
jury, aiding each other, for the purpose of maintaining and increasing position within the ABT, an
enterprise engaged in racketeering activity, kidnapped Mark Davis Byrd, Sr., in violation of Texas Penal
Code Sections 20.03 and 20.04.

ln violation of 18 U.S.C. §§ l959(a)(1) and 2.

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COUNT EIGHT
Consr)iracv to Murder Mark Davis Bvrd. Sr.
[ 18 U.S.C. § 1959(a) (5)]

19. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

20. Starting on or about April 27, 2008, and continuing until on or about May 4,~2008, in
the Westem District of Texas, the Southem District of Texas, and elsewhere for the purpose of
maintaining and increasing position within the ABT, an enterprise engaged in racketeering activity,
the defendants LARRY MAX BRYAN, a/k/a “Slick,” KELLY RAY ELLEY, a/k/a “Magic,”
BRIAN LEE THOMAS, a/k/a “Bam Bam,” STEVEN WORTHEY, a/k/a, “Worthey,” and
others known and unknown to the Grand Jury, did intentionally and knowingly conspire to murder
Mark Davis Byrd, Sr., in violation of Texas Penal Code, Sections 19.02 (b) (1) and 15.02.

In violation of 18 U.S.C. § 1959(a) (5).

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COUNT NINE
Murder of Mark Davis Byrd, Sr.
[18 U.S.C. §§ 1959 (a) (1) & (2)]
21. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein,
22. On or about May 4, 2008, in the Westem District of Texas, the Southem District of
Texas and elsewhere for the purpose of maintaining and increasing position within the ABT, an
enterprise engaged in racketeering activity, the defendants, LARRY MAX BRYAN, a/k/a “Slick,”
KELLY RAY ELLEY, a/k/a “Magic,” BRIAN LEE THOMAS, a/k/a “Bam Bam,” STEVEN
WORTHEY, a/k/a “Worthey,” and others known and unknown to the Grand Jury, aiding each
other, did intentionally and knowingly murder Mark Davis Byrd, Sr., in violation of Texas Penal
Code, Sections 19.02 (b) (1) and 7.01.

All in violation of 18 U.S.C. §§ 1959 (a) (1) and 2.

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COUNT TEN
Using and Carrving a Firearm to Commit Murder During
and in Relation to a Crime of Violence; Aiding and Abetting
[18 U.S.C. §§ 924(1) (1) & 2]

23. On or about May 4, 2008, in the Southem District of Texas and elsewhere the
defendants LARRY MAX BRYAN, a/k/a “Slick,” KELLY RAY ELLEY, a/k/a “Magic,”
BRIAN LEE THOMAS, a/k/a “Bam Bam,” STEVEN WORTHEY, a/k/a “Worthey,” and
others known and unknown to the Grand Jury, aiding each other, did knowingly use and carry a
firearm during and in relation to a crime of violence for which the defendants may be prosecuted in
the United States, as alleged in Count Ten of this Second Superseding Indictment, to wit: Violent
Crimes in Aid of Racketeering, which is re-alleged and incorporated by reference herein, in
violation of Title 18, United States Code, Section 924 (c) (1), and in the course of this violation
caused the death of a person through the use of a firearm, which killing is a murder as defined in
Title 18, United States Code, Section 1111, in that the defendants did knowingly kill Mark Davis

Byrd, Sr. by shooting him with a firearm during the perpetration of a crime of violence

in violation of 18 U.s.c. §§ 924 @) (1) and 2.

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COUNT ELEVEN

Accessorv After the F act in the Murder of Mark Davis Byrd, Sr.
[18 U.S.C. § 3]

24. Paragraphs and Ten and Eleven of this Second Superseding Indictment are re-alleged
and incorporated by reference as though set forth fully herein,

25. On or about May 4, 2008, within the Westem District of Texas and elsewhere for
the purpose of maintaining or increasing position within the ABT, an enterprise engaged in
racketeering activity, defendants LARRY MAX BRYAN, a/k/a “Slick,” KELLY RAY ELLEY,
a/k/a “Magic,” BRIAN LEE THOMAS, a/k/a “Bam Bam,” STEVEN WORTHEY, a/k/a,
“Worthey,” and others known and unknown to the Grand Jury, aiding each other, did intentionally
and knowingly murder Mark Davis Byrd, Sr., in violation of 'l`exas Penal Code,
Sectionsl9.02(b)(l), & (3) and 7.01, and in violation of 18 U.S.C. §§ 1959(a)(1) and 2.

26. After the commission of the above-described offense defendants DESTINY
NICOLE FEATHERS, SHANE GAIL MCNIEL, a/k/a “Dirty,” and others known and unknown
to the Grand Jury, received, relieved, comforted, and assisted LARRY MAX BRYAN, a/k/a
“Slick,” KELLY RAY ELLEY, a/k/a “Magic,” BRIAN LEE THOMAS, a/k/a “Bam Bam,”
STEVEN WORTHEY, a/k/a, “Worthey,” and others known and unknown to the Grand Jury, in
order to hinder or prevent the apprehension, trial, or punishment of defendants LARRY MAX
BRYAN, a/k/a “Slick,” KELLY RAY ELLEY, a/k/a “Magic,”BRIAN LEE THOMAS, a/k/a
“Bam Bam,” STEVEN WORTHEY, a/k/a, “Worthey,” and others known and unknown to the
Grand Jury.

In violation of 18 U.S.C. §3.

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COUNT TWELVE

Kidnanning of Albert Duane Parker
[18 U.S.C. §§ 1959 (a) (1) and (2)]

27. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein,

28. On or about May 14, 2010, in the Northem District of Texas and elsewhere the
defendants JAMES LAWRENCE BURNS, a/k/a “Chance,” KENNETH MICHAEL
HANCOCK, a/k/a, “Hancock,” BILLY DON SEAY, a/k/a “Big Nasty,” BILLY FRANK
WEATHERRED, a/k/a “Billy the Kid,” and others known and unknown to the Grand Jury, aiding
each other, for the purpose of maintaining and increasing position within the ABT, an enterprise
engaged in racketeering activity, kidnapped Albert Duane Parker, a/k/a “Sidetrack,” in violation of
Texas Penal Code Sections 20.03 and 20.04.

ln violation of 18 U.S.C. §§ 1959(a)(1) and 2.

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COUNT THIRTEEN
Assault of Albert Duane Parker
[18 U.S.C. §§ 1959(a)(3) and 2]

29. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

30. On or about May 14, 2010, in the Northem District of Texas and elsewhere for the
purpose of gaining entrance to and maintaining and increasing position in the ABT, an enterprise
engaged in racketeering activity, the defendants JAMES LAWRENCE BURNS, a/k/a “Chance,”
KENNETH MICHAEL HANCOCK, a/k/a, “Hancock,” BILLY DON SEAY, a/k/a “Big
Nasty,” BILLY FRANK WEATHERRED, a/k/a “Billy the Kid,” and others known and
unknown to the Grand Jury, aiding each other, did assault Albert Duane Parker a/k/a “Sidetrack,”
resulting in serious bodily injury, in violation of Texas Penal Code, Sections 22.02 and 7.01.

All in violation of 18 u.s.C. §§ 1959 (a)(z) and 2.

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COUNT FOURTEEN

Assault of Tommy Dale Slaughter
[18 U.S.C. §§ 1959(a)(3) and 2]

31. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

32. On or about July 28, 2010, in the Northem District of Texas, and elsewhere for the
purpose of gaining entrance to and maintaining and increasing position in the ABT, an enterprise
engaged in racketeering activity, the defendants KENNETH MICHAEL HANCOCK, a/k/a
“Hancock,” BILLY DON SEAY, a/k/a “Big Nasty,” BILLY FRANK WEATHERRED, a/k/a
“Billy the Kid,” and others known and unknown to the Grand Jury, aiding each other, did assault
Tommy Dale Slaughter, resulting in serious bodily injury, in violation of Texas Penal Code,
Sections 22.02 and 7.01.

All in violation of 18 U.S.C. §§ 1959 (a)(3) and 2.

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COUNT FIFTEEN

Kidnapr)ing of Joseph Wright
[18 U.S.C. §§ 1959 (a) (1) and (2)]

33. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

34. On or about November 4, 2010, in the Northem District of Texas and elsewhere
the defendants JAMES LAWRENCE BURNS, a/k/a “Chance,”DUSTIN LEE HARRIS, a/k/a
“Lightning,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” RONALD LEE
PRINCE, a/k/a “Big Show,” and others known and unknown to the grand jury, aiding each other,
for the purpose of maintaining and increasing position within the ABT, an enterprise engaged in
racketeering activity, kidnapped Joseph Wright, a/k/a “Domino Joe,” in violation of Texas Penal
Code Sections 20.03 and 20.04.

In violation of 18 U.S.C. §§ 1959(a)(1) and 2.

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COUNT SIXTEEN

Kidnapr)ing of Rav Deason
[18 U.S.C. §§ 1959 (a) (1) and (2)]

35. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein,

36. On or about May 2, 2011, in the Northem District of Texas and elsewhere the
defendants JAMES LAWRENCE BURNS, a/k/a “Chance,” CHRISTOPHER JAMES
MORRIS, a/k/a “Rockstar,” STEPHEN TOBY MULLEN JR., a/k/a “Scuba Steve,” and others
known and unknown to the Grand Jury, aiding each other, for the purpose of maintaining and
increasing position within the ABT, an enterprise engaged in racketeering activity, kidnapped Ray
Deason, in violation of Texas Penal Code Sections 20.03 and 20.04,

In violation of 18 U.S.C. §§ 1959(a)(l) and 2.

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COUNT SEVENTEEN

Attempted Murder of Jason Head
[ 18 U.S.C. §§ 1959(a)(5) and 2]

37. Paragraphs Ten and Eleven of this Second Superseding Indictment are re-alleged and
incorporated by reference as though set forth fully herein.

38. On or about July 27, 2011, in the Northem District of Texas and elsewhere the
defendant, RUSTY EUGENE DUKE, a/k/a “Duke,” and others known and unknown to the Grand
Jury, aiding each other, for the purpose of maintaining and increasing position within the ABT, an
enterprise engaged in racketeering activity, did attempt to murder Jason Head, in violation of Texas
Penal Code, Sections 19.02 (b)(l), 15.01 and 7.01.

ln violation of 18 U.S.C. §§ 1959(a)(5) and 2.

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COUNT EIGHTEEN

Possess with latent to Distribute Mcthamphetamine
[;>l u.s.c. § am

39 Beginning on an exact date unknown to the Grand Jury, but at least as ofin or about
December 2012, and continuing through the date of this Second Superseding lndictment, in the
Southem District ofTexas and elsewhere the defendant JAMES FRANCIS, SAMPSELL, a/k/a
“Skitz,” and others known and unknown to thc Grand Jury, would and did distribute and possess
with the intent to distribute a controlled substance to wil, 50 grams or more ofa mixture or
substance containing a detectable amount ot` methamphetamine and 50 grams or more of
methamphetamine (actual), in violation of21 U.S.C.y §§§ 841('3)(1), 841 (b)(l)(`C)(viii), and

sali(o)(l;>n\;lcviii).

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NOTICE OF SPECIAL FINDINGS
[18 U.S.C. §§ 3591 and 3592]
40. The Grand Jury incorporates by reference and re-alleges the allegations

contained in Counts Three, Four and Five and makes the following findings as to Counts Three
Four, and Five, the defendants LARRY MAX BRYAN, a/k/a “Slick,” KELLY RAY ELLEY,
a/k/a/ Magic,” BRIAN LEE THOMAS, a/k/a “Bam Bam” and STEVEN WORTHEY, a/k/a
“Worthey,”:

a. were 18 years of age or older at the time of the offenses;

b. intentionally killed Mark Davis Byrd, Sr. (18 U.S.C. § 3591(a)(2))(A));

c. intentionally participated in one or more acts, contemplating that the life of a
person would be taken or intending that lethal force would be used in
connection with a person, other than a participant in the offense and Mark
Davis Byrd, Sr. died as a direct result of such act or acts (18 U.S.C. §
3591(3) (2) (C));

d. intentionally and specifically engaged in one or more acts of violence
knowing that the act or acts created a grave risk of death to a person, other
than one of the participants in the offenses, such that participation in such act
or acts constituted a reckless disregard for human life Mark Davis Byrd, Sr.
died as a direct result of such act or acts (18 U.S.C.§ 3591(a)(2)(D));

e committed the offenses after substantial planning and premeditation to cause
the death of Mark Davis Byrd, Sr. (18 U.S.C. § 3592 (c)(9)).

41. The Grand Jury incorporates by reference and re-alleges the allegations contained in
Counts Eight and Nine, and makes the following findings as to Counts Eight and Nine, the
defendants MICHAEL RICHARD LAMPHERE, a/k/a “Lamp,” JAMIE GRANT LOVEALL,

a/k/a “Dutch,” DAVID ORLANDO ROBERTS, a/k/a “Chopper”:

a. were 18 years of age or older at the time of the offenses;

b. intentionally killed Aaron Wade Otto (18 U.S.C. § 3591(a)(2))(A));

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intentionally participated in one or more acts, contemplating that the life of a
person would be taken or intending that lethal force would be used in
connection with a person, other than a participant in the offense and Aaron
Wade Otto died as a direct result of such act or acts (18 U.S.C. § 3591(a) (2)

(C);

intentionally and specifically engaged in one or more acts of violence
knowing that the act or acts created a grave risk of death to a person, other
than one of the participants in the offenses, such that participation in such act
or acts constituted a reckless disregard for human life Aaron Wade Otto died
as a direct result of such act or acts (18 U.S.C.§ 3591(a)(2)(D));

committed the offenses after substantial planning and premeditation to cause
the death of Aaron Wade Otto (18 U.S.C. § 3592 (c)(9)).

42. The Grand Jury incorporates by reference and re-alleges the allegations contained in

Counts Ten and Eleven, and makes the following findings as to Counts Ten and Eleven, the

defendants JAMIE GRANT LOVEALL, a/k/a “Dutch,” WILLIAM DAVID MAYNARD,

a/k/a Baby Huey,” JAMES ERIK SHARRON, a/k/a “Flounder,” and SAMMY KEITH

SHIPMAN, a/k/a “Stubby”:

a.

b.

were 18 years of age or older at the time of the offenses;

intentionally killed Robert Allen Branch, a/k/a “Lightning” (18 U.S.C. §
3591(3)(2))(A));

intentionally participated in one or more acts, contemplating that the life of a
person would be taken or intending that lethal force would be used in
connection with a person, other than a participant in the offense and Robert
Allen Branch, a/k/a “Lightning,” died as a direct result of such act or acts (18

U.S.C. § 359l(a) (2) (C));

intentionally and specifically engaged in one or more acts of violence
knowing that the act or acts created a grave risk of death to a person, other
than one of the participants in the offenses, such that participation in such act
or acts constituted a reckless disregard for human life Robert Allen Branch,
a/k/a “Lightning,” died as a direct result of such act or acts (18 U.S.C.§
3591(3)(2)(13));

committed the offenses after substantial planning and premeditation to cause
the death of Robert Allen Branch, a/k/a “Lightning” (18 U.S.C. § 3592 (c)(9)).

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NoTICE oF CRIMINAL FoRFEITURE
[18 U.s.c. §1963]

The allegations contained in Count One of this Second Superseding Indictment are re-alleged
and incorporated by reference herein for the purpose of alleging forfeiture In accordance with F ederal
Rule of Criminal Procedure 32.2(a), the United States gives notice to all Defendants that the United
States will seek forfeiture pursuant to Title 18, United States Code, Section 1963 in the event of any
Defendant’s conviction of the offense charged in Count One of this Superseding Indictment

Pursuant to Title 18, United States Code, Section 1963, the following is subject to forfeiture to
the United States of America upon any Defendant’s conviction of an offense in violation of Title 18,
United States Code, Section 1962:

a. any interest acquired or maintained in violation of Section 1962;

b. an interest in, security of, claim against, and property or contractual rights of any kind

which afford a source of influence over, any enterprise which the defendants established,

operated, controlled, conducted, or participated in the conduct of, in violation of Section

1962;

c. any property constituting, or derived from, any proceeds obtained, directly or

indirectly, from racketeering activity or unlawful debt collection in violation of Section

1962.

NoTICE oF CRIMINAL FoRFEITURE
[21 u.s.C. §853]

The United States gives notice to the Defendants named in Count Two of this Second
Superseding Indictment that in the event of any Defendant’s conviction of a conspiracy in violation of
Title 21, United States Code, Section 846, the United States will seek forfeiture pursuant to Title 21,
United States Code, Section 853(a) of the following property, whether real or personal:

a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such violation; and

b. any of the person’s property used, or intended to be used, in any manner or part, to
commit, or to facilitate the commission of, such violation.

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NoTICE oF CRIMINAL FoRFEITURE
[18 u.s.c. §924(d)(l); 28 u.s.c. §2461(o)]

The United States gives notice to the Defendants named in Counts Four, Six and Ten of this
Second Superseding Indictment that in the event of any Defendant’s conviction of violation of Title 18,
United States Code, Section 924(j)(1), the United States will seek forfeiture pursuant to Title 18, United
States Code Section 924(d)(1) and Title 28, United States Code 2461 (c), of all firearms and ammunition
involved in or used in the commission of the offenses

MM

The Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture for which the Defendants may be jointly and severally
liable

Substitute Assets

The Defendants are notified that in the event that property subject to forfeiture as a result of any
act or omission of the Defendants,

(A) cannot be located upon the exercise of due diligence;

(B) has been transferred or sold to, or deposited with, a third party;

(C) has been placed beyond the jurisdiction of the court;

(D) has been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without difficulty,
it is the intent of the United States to seek forfeiture of any other property of the Defendants up to the
total value of such property, pursuant to Title 18, United States Code, Section 1963(m) and pursuant to
Title 21, United States Code, Section 853(p), independently and as incorporated by reference in Title

28, United States Code, Section 2461(c).

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TRUE BILL.

Original Signature on File

FOREPERSON OF THE GRAND JURY

 

 

KENNETH MAGIDSON LANNY BREUER

UNITED STATES ATTORNEY ASSISTANT ATTORNEY GENE

By: jvzlj@v/\tvv` Byg)&
Jani eman David Karpel `
Assl t t United States Attomey Trial Attomey

 

Organized Crime and Gang Section

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